Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 1 of 15 Page ID #:93



    1   Richard A. Lazenby (State Bar No. 202105)
        Email: rlazenby@victorrane.com
    2   Natasha Mikha Pardasani (State Bar No. 270731)
        Email: npardasani@victorrane.com
    3   Jacqueline D. DeWarr (State Bar No. 207265)
        Email: jdewarr@victorrane.com
    4   VICTOR RANE
    5   9350 Wilshire Blvd., Suite 308
        Beverly Hills, California 90212
    6   Telephone: (310) 388-4849
        Facsimile: (310) 388-4869
    7
        Attorneys for Defendant
    8   SOUTHWEST AIRLINES CO.
    9
                                          UNITED STATES DISTRICT COURT
   10
                                      CENTRAL DISTRICT OF CALIFORNIA
   11
        ADELENE SANDERS, an individual,                   )   Case No.: 2:21-CV-00451-DDP-MRW
   12                                                     )
                        Plaintiff,                        )
   13                                                     )    STIPULATED PROTECTIVE ORDER
                vs.                                       )
   14                                                     )    (MRW VERSION 4/19)
        SOUTHWEST AIRLINES CO., a business                )
   15   entity of unknown form; and DOES 1 through        )   ‫ ܆‬Check if submitted without material
        100, inclusive,                                   )   modifications to MRW form
   16                                                     )
                        Defendants.                       )
   17                                                     )
                                                          )
   18                                                     )
                                                          )
   19

   20   1.      INTRODUCTION
   21           1.1      PURPOSES AND LIMITATIONS
   22           Discovery in this action is likely to involve production of confidential, proprietary, or
   23   private information for which special protection from public disclosure and from use for any
   24   purpose other than prosecuting this litigation may be warranted. Accordingly, the parties hereby
   25   stipulate to and petition the Court to enter the following Stipulated Protective Order. The parties
   26   acknowledge that this Order does not confer blanket protections on all disclosures or responses
   27   to discovery and that the protection it affords from public disclosure and use extends only to the
   28   limited information or items that are entitled to confidential treatment under the applicable legal


        STIPULATED PROTECTIVE ORDER
        CASE NO.: 2:21-CV-00451-DDP-MRW
                                               Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 2 of 15 Page ID #:94




                                                   1   principles. The parties further acknowledge, as set forth in Section 12.3, below, that this
                                                   2   Stipulated Protective Order does not entitle them to file confidential information under seal;
                                                   3   Civil Local Rule 79-5 sets forth the procedures that must be followed and the standards that will
                                                   4   be applied when a party seeks permission from the court to file material under seal.
                                                   5              1.2    GOOD CAUSE STATEMENT
                                                   6              This case arises from the alleged racial discrimination of Plaintiff while onboard
                                                   7   Southwest Airlines flight 577 from Ontario to Las Vegas on July 18, 2020. To facilitate
                                                   8   productive discovery, the parties need to exchange documents, items, and information of private,
                                                   9   confidential, and/or proprietary nature. Prior to production, no party can effectively evaluate the
                                                  10   claims of the other as to the need for protection. Thus, a means that enables the production of
                                                  11   documents at least to the point of evaluating the asserted need for protection, as well as an order
              9350 Wilshire Blvd., Suite 308




                                                  12   specifying how such documents need to be treated, is required in this case. Moreover, pursuant
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212
Victor Rane




                                                  13   to the terms of this Order, any document designated as confidential where that designation is
                                                  14   disputed can be identified as such and the matter submitted to the Court for resolution.
                                                  15              In the absence of this Order, the Court would have to evaluate many documents
                                                  16   individually, and this task would burden the Court’s processes and slow discovery. As to those
                                                  17   documents that are entitled to protection, disclosure of such confidential information is likely to
                                                  18   prejudice the legitimate business, competitive, and/or privacy interests of parties, or of third
                                                  19   parties.
                                                  20              A protective order is thus needed in this action to enable the documents to be evaluated
                                                  21   and to protect against unauthorized disclosure of confidential information and to ensure that such
                                                  22   information will be used only for purposes of this action. A protective order will also expedite
                                                  23   the flow of discovery materials, protect the integrity of truly confidential information, promote
                                                  24   the prompt resolution of disputes over confidentiality, and facilitate the preservation of material
                                                  25   worthy of protection.
                                                  26   2.         DEFINITIONS
                                                  27              2.1    Action: this pending federal law suit.
                                                  28   / /

                                                       STIPULATED PROTECTIVE ORDER                       -2-
                                                       CASE NO.: 2:21-CV-00451-DDP-MRW
                                               Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 3 of 15 Page ID #:95




                                                   1             2.2    Challenging Party: a Party or Non-Party that challenges the designation of
                                                   2   information or items under this Order.
                                                   3             2.3    “CONFIDENTIAL” Information or Items: information (regardless of how it is
                                                   4   generated, stored or maintained) or tangible things that qualify for protection under Federal Rule
                                                   5   of Civil Procedure 26(c), and as specified above in the Good Cause Statement. [Note: any
                                                   6   request for a two-tiered, attorney-eyes-only protective order that designates certain
                                                   7   material as “Highly Confidential” will require a separate and detailed showing of need.]
                                                   8             2.4    Counsel: Outside Counsel of Record and House Counsel (as well as their support
                                                   9   staff).
                                                  10             2.5    Designating Party: a Party or Non-Party that designates information or items that
                                                  11   it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”
              9350 Wilshire Blvd., Suite 308




                                                  12             2.6    Disclosure or Discovery Material: all items or information, regardless of the
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212
Victor Rane




                                                  13   medium or manner in which it is generated, stored, or maintained (including, among other things,
                                                  14   testimony, transcripts, and tangible things), that are produced or generated in disclosures or
                                                  15   responses to discovery in this matter.
                                                  16             2.7    Expert: a person with specialized knowledge or experience in a matter pertinent
                                                  17   to the litigation who has been retained by a Party or its counsel to serve as an expert witness or as
                                                  18   a consultant in this Action.
                                                  19             2.8    House Counsel: attorneys who are employees of a party to this Action, or
                                                  20   employees of an insurer of a party to this action. House Counsel does not include Outside
                                                  21   Counsel of Record or any other outside counsel.
                                                  22             2.9    Non-Party: any natural person, partnership, corporation, association, or other
                                                  23   legal entity not named as a Party to this action.
                                                  24             2.10   Outside Counsel of Record: attorneys who are not employees of a party to this
                                                  25   Action but are retained to represent or advise a party to this Action and have appeared in this
                                                  26   Action on behalf of that party or are affiliated with a law firm which has appeared on behalf of
                                                  27   that party, and includes support staff.
                                                  28   / /

                                                       STIPULATED PROTECTIVE ORDER                     -3-
                                                       CASE NO.: 2:21-CV-00451-DDP-MRW
                                               Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 4 of 15 Page ID #:96




                                                   1           2.11    Party: any party to this Action, including all of its officers, directors, employees,
                                                   2   consultants, retained experts, and Outside Counsel of Record (and their support staffs).
                                                   3           2.12    Producing Party: a Party or Non-Party that produces Disclosure or Discovery
                                                   4   Material in this Action.
                                                   5           2.13    Professional Vendors: persons or entities that provide litigation support services
                                                   6   (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and
                                                   7   organizing, storing, or retrieving data in any form or medium) and their employees and
                                                   8   subcontractors.
                                                   9           2.14    Protected Material: any Disclosure or Discovery Material that is designated as
                                                  10   “CONFIDENTIAL.”
                                                  11           2.15    Receiving Party: a Party that receives Disclosure or Discovery Material from a
              9350 Wilshire Blvd., Suite 308




                                                  12   Producing Party.
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212
Victor Rane




                                                  13

                                                  14   3.      SCOPE
                                                  15           The protections conferred by this Stipulation and Order cover not only Protected Material
                                                  16   (as defined above), but also (1) any information copied or extracted from Protected Material; (2)
                                                  17   all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,
                                                  18   conversations, or presentations by Parties or their Counsel that might reveal Protected Material.
                                                  19           Any use of Protected Material at trial will be governed by the orders of the trial judge.
                                                  20   This Order does not govern the use of Protected Material at trial.
                                                  21

                                                  22   4.      DURATION
                                                  23           Even after final disposition of this litigation, the confidentiality obligations imposed by
                                                  24   this Order will remain in effect until a Designating Party agrees otherwise in writing or a court
                                                  25   order otherwise directs. Final disposition will be deemed to be the later of (1) dismissal of all
                                                  26   claims and defenses in this Action, with or without prejudice; and (2) final judgment herein after
                                                  27   the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this
                                                  28

                                                       STIPULATED PROTECTIVE ORDER                      -4-
                                                       CASE NO.: 2:21-CV-00451-DDP-MRW
                                               Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 5 of 15 Page ID #:97




                                                   1   Action, including the time limits for filing any motions or applications for extension of time
                                                   2   pursuant to applicable law.
                                                   3

                                                   4   5.      DESIGNATING PROTECTED MATERIAL
                                                   5           5.1     Exercise of Restraint and Care in Designating Material for Protection. Each Party
                                                   6   or Non-Party that designates information or items for protection under this Order must take care
                                                   7   to limit any such designation to specific material that qualifies under the appropriate standards.
                                                   8   The Designating Party must designate for protection only those parts of material, documents,
                                                   9   items, or oral or written communications that qualify so that other portions of the material,
                                                  10   documents, items, or communications for which protection is not warranted are not swept
                                                  11   unjustifiably within the ambit of this Order.
              9350 Wilshire Blvd., Suite 308




                                                  12           Mass, indiscriminate, or routinized designations are prohibited. Designations that are
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212
Victor Rane




                                                  13   shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
                                                  14   unnecessarily encumber the case development process or to impose unnecessary expenses and
                                                  15   burdens on other parties) may expose the Designating Party to sanctions.
                                                  16           If it comes to a Designating Party’s attention that information or items that it designated
                                                  17   for protection do not qualify for protection, that Designating Party must promptly notify all other
                                                  18   Parties that it is withdrawing the inapplicable designation.
                                                  19           5.2     Manner and Timing of Designations. Except as otherwise provided in this Order
                                                  20   (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,
                                                  21   Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so
                                                  22   designated before the material is disclosed or produced.
                                                  23           Designation in conformity with this Order requires:
                                                  24           (a) for information in documentary form (e.g., paper or electronic documents, but
                                                  25   excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing
                                                  26   Party affix at a minimum, the legend “CONFIDENTIAL” (hereinafter “CONFIDENTIAL
                                                  27   legend”), to each page that contains protected material. If only a portion or portions of the
                                                  28

                                                       STIPULATED PROTECTIVE ORDER                     -5-
                                                       CASE NO.: 2:21-CV-00451-DDP-MRW
                                               Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 6 of 15 Page ID #:98




                                                   1   material on a page qualifies for protection, the Producing Party also must clearly identify the
                                                   2   protected portion(s) (e.g., by making appropriate markings in the margins).
                                                   3                   A Party or Non-Party that makes original documents available for inspection need
                                                   4   not designate them for protection until after the inspecting Party has indicated which documents
                                                   5   it would like copied and produced. During the inspection and before the designation, all of the
                                                   6   material made available for inspection will be deemed “CONFIDENTIAL.” After the inspecting
                                                   7   Party has identified the documents it wants copied and produced, the Producing Party must
                                                   8   determine which documents, or portions thereof, qualify for protection under this Order. Then,
                                                   9   before producing the specified documents, the Producing Party must affix the
                                                  10   “CONFIDENTIAL legend” to each page that contains Protected Material. If only a portion or
                                                  11   portions of the material on a page qualifies for protection, the Producing Party also must clearly
              9350 Wilshire Blvd., Suite 308




                                                  12   identify the protected portion(s) (e.g., by making appropriate markings in the margins).
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212
Victor Rane




                                                  13           (b) for testimony given in depositions that the Designating Party identify the Disclosure
                                                  14   or Discovery Material on the record, before the close of the deposition all protected testimony.
                                                  15           (c) for information produced in some form other than documentary and for any other
                                                  16   tangible items, that the Producing Party affix in a prominent place on the exterior of the
                                                  17   container or containers in which the information is stored the legend “CONFIDENTIAL.” If
                                                  18   only a portion or portions of the information warrants protection, the Producing Party, to the
                                                  19   extent practicable, will identify the protected portion(s).
                                                  20           5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to
                                                  21   designate qualified information or items does not, standing alone, waive the Designating Party’s
                                                  22   right to secure protection under this Order for such material. Upon timely correction of a
                                                  23   designation, the Receiving Party must make reasonable efforts to assure that the material is
                                                  24   treated in accordance with the provisions of this Order.
                                                  25

                                                  26   6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                                  27           6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of
                                                  28   confidentiality at any time that is consistent with the Court’s Scheduling Order.

                                                       STIPULATED PROTECTIVE ORDER                      -6-
                                                       CASE NO.: 2:21-CV-00451-DDP-MRW
                                               Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 7 of 15 Page ID #:99




                                                   1           6.2      Meet and Confer. The Challenging Party will initiate the dispute resolution
                                                   2   process (and, if necessary, file a discovery motion) under Local Rule 37.1 et seq.
                                                   3           6.3      The burden of persuasion in any such challenge proceeding will be on the
                                                   4   Designating Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass
                                                   5   or impose unnecessary expenses and burdens on other parties) may expose the Challenging Party
                                                   6   to sanctions. Unless the Designating Party has waived or withdrawn the confidentiality
                                                   7   designation, all parties will continue to afford the material in question the level of protection to
                                                   8   which it is entitled under the Producing Party’s designation until the Court rules on the
                                                   9   challenge.
                                                  10

                                                  11   7.      ACCESS TO AND USE OF PROTECTED MATERIAL
              9350 Wilshire Blvd., Suite 308




                                                  12           7.1      Basic Principles. A Receiving Party may use Protected Material that is disclosed
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212
Victor Rane




                                                  13   or produced by another Party or by a Non-Party in connection with this Action only for
                                                  14   prosecuting, defending, or attempting to settle this Action. Such Protected Material may be
                                                  15   disclosed only to the categories of persons and under the conditions described in this Order.
                                                  16   When the Action has been terminated, a Receiving Party must comply with the provisions of
                                                  17   section 13 below (FINAL DISPOSITION).
                                                  18           Protected Material must be stored and maintained by a Receiving Party at a location and
                                                  19   in a secure manner that ensures that access is limited to the persons authorized under this Order.
                                                  20           7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
                                                  21   ordered by the court or permitted in writing by the Designating Party, a Receiving Party may
                                                  22   disclose any information or item designated “CONFIDENTIAL” only to:
                                                  23                 (a) the Receiving Party’s Outside Counsel of Record in this Action, as well as
                                                  24   employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the
                                                  25   information for this Action;
                                                  26                 (b) the officers, directors, and employees (including House Counsel) of the
                                                  27   Receiving Party to whom disclosure is reasonably necessary for this Action;
                                                  28   / /

                                                       STIPULATED PROTECTIVE ORDER                      -7-
                                                       CASE NO.: 2:21-CV-00451-DDP-MRW
                                               Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 8 of 15 Page ID #:100




                                                    1               (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is
                                                    2   reasonably necessary for this Action and who have signed the “Acknowledgment and Agreement
                                                    3   to Be Bound” (Exhibit A);
                                                    4               (d) the Court and its personnel;
                                                    5               (e) court reporters and their staff;
                                                    6               (f) professional jury or trial consultants, mock jurors, and Professional Vendors to
                                                    7   whom disclosure is reasonably necessary for this Action and who have signed the
                                                    8   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                                    9               (g) the author or recipient of a document containing the information or a custodian or
                                                   10   other person who otherwise possessed or knew the information;
                                                   11               (h) during their depositions, witnesses, and attorneys for witnesses, in the Action to
              9350 Wilshire Blvd., Suite 308




                                                   12   whom disclosure is reasonably necessary provided: (1) the deposing party requests that the
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212
Victor Rane




                                                   13   witness sign the form attached as Exhibit A hereto; and (2) they will not be permitted to keep any
                                                   14   confidential information unless they sign the “Acknowledgment and Agreement to Be Bound”
                                                   15   (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court. Pages of
                                                   16   transcribed deposition testimony or exhibits to depositions that reveal Protected Material may be
                                                   17   separately bound by the court reporter and may not be disclosed to anyone except as permitted
                                                   18   under this Stipulated Protective Order; and
                                                   19               (i) any mediator or settlement officer, and their supporting personnel, mutually
                                                   20   agreed upon by any of the parties engaged in settlement discussions.
                                                   21

                                                   22   8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
                                                   23   LITIGATION
                                                   24           If a Party is served with a subpoena or a court order issued in other litigation that compels
                                                   25   disclosure of any information or items designated in this Action as “CONFIDENTIAL,” that
                                                   26   Party must:
                                                   27               (a) promptly notify in writing the Designating Party. Such notification will include a
                                                   28   copy of the subpoena or court order;

                                                        STIPULATED PROTECTIVE ORDER                        -8-
                                                        CASE NO.: 2:21-CV-00451-DDP-MRW
                                               Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 9 of 15 Page ID #:101




                                                    1               (b) promptly notify in writing the party who caused the subpoena or order to issue in
                                                    2   the other litigation that some or all of the material covered by the subpoena or order is subject to
                                                    3   this Protective Order. Such notification will include a copy of this Stipulated Protective Order;
                                                    4   and
                                                    5               (c) cooperate with respect to all reasonable procedures sought to be pursued by the
                                                    6   Designating Party whose Protected Material may be affected.
                                                    7           If the Designating Party timely seeks a protective order, the Party served with the
                                                    8   subpoena or court order will not produce any information designated in this action as
                                                    9   “CONFIDENTIAL” before a determination by the court from which the subpoena or order
                                                   10   issued, unless the Party has obtained the Designating Party’s permission. The Designating Party
                                                   11   will bear the burden and expense of seeking protection in that court of its confidential material
              9350 Wilshire Blvd., Suite 308




                                                   12   and nothing in these provisions should be construed as authorizing or encouraging a Receiving
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212
Victor Rane




                                                   13   Party in this Action to disobey a lawful directive from another court.
                                                   14

                                                   15   9.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS
                                                   16   LITIGATION
                                                   17               (a) The terms of this Order are applicable to information produced by a Non-Party in
                                                   18   this Action and designated as “CONFIDENTIAL.” Such information produced by Non-Parties
                                                   19   in connection with this litigation is protected by the remedies and relief provided by this Order.
                                                   20   Nothing in these provisions should be construed as prohibiting a Non-Party from seeking
                                                   21   additional protections.
                                                   22               (b) In the event that a Party is required, by a valid discovery request, to produce a
                                                   23   Non-Party’s confidential information in its possession, and the Party is subject to an agreement
                                                   24   with the Non-Party not to produce the Non-Party’s confidential information, then the Party will:
                                                   25                   (1) promptly notify in writing the Requesting Party and the Non-Party that some
                                                   26   or all of the information requested is subject to a confidentiality agreement with a Non-Party;
                                                   27   / /
                                                   28   / /

                                                        STIPULATED PROTECTIVE ORDER                     -9-
                                                        CASE NO.: 2:21-CV-00451-DDP-MRW
                                         Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 10 of 15 Page ID #:102




                                                1                   (2) promptly provide the Non-Party with a copy of the Stipulated Protective
                                                2   Order in this Action, the relevant discovery request(s), and a reasonably specific description of
                                                3   the information requested; and
                                                4                   (3) make the information requested available for inspection by the Non-Party, if
                                                5   requested.
                                                6                (c) If the Non-Party fails to seek a protective order from this court within 14 days of
                                                7   receiving the notice and accompanying information, the Receiving Party may produce the Non-
                                                8   Party’s confidential information responsive to the discovery request. If the Non-Party timely
                                                9   seeks a protective order, the Receiving Party will not produce any information in its possession
                                               10   or control that is subject to the confidentiality agreement with the Non-Party before a
                                               11   determination by the court. Absent a court order to the contrary, the Non-Party will bear the
              9350 Wilshire Blvd., Suite 308




                                               12   burden and expense of seeking protection in this court of its Protected Material.
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212
Victor Rane




                                               13

                                               14   10.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                                               15           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected
                                               16   Material to any person or in any circumstance not authorized under this Stipulated Protective
                                               17   Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the
                                               18   unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the
                                               19   Protected Material, (c) inform the person or persons to whom unauthorized disclosures were
                                               20   made of all the terms of this Order, and (d) request such person or persons to execute the
                                               21   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.
                                               22

                                               23   11.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
                                               24   MATERIAL
                                               25           When a Producing Party gives notice to Receiving Parties that certain inadvertently
                                               26   produced material is subject to a claim of privilege or other protection, the obligations of the
                                               27   Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This
                                               28   provision is not intended to modify whatever procedure may be established in an e-discovery

                                                    STIPULATED PROTECTIVE ORDER                     - 10 -
                                                    CASE NO.: 2:21-CV-00451-DDP-MRW
                                         Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 11 of 15 Page ID #:103




                                                1   order that provides for production without prior privilege review. Pursuant to Federal Rule of
                                                2   Evidence 502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure of a
                                                3   communication or information covered by the attorney-client privilege or work product
                                                4   protection, the parties may incorporate their agreement in the stipulated protective order
                                                5   submitted to the court.
                                                6

                                                7   12.     MISCELLANEOUS
                                                8           12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to
                                                9   seek its modification by the Court in the future.
                                               10           12.2    Right to Assert Other Objections. By stipulating to the entry of this Protective
                                               11   Order no Party waives any right it otherwise would have to object to disclosing or producing any
              9350 Wilshire Blvd., Suite 308




                                               12   information or item on any ground not addressed in this Stipulated Protective Order. Similarly,
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212
Victor Rane




                                               13   no Party waives any right to object on any ground to use in evidence of any of the material
                                               14   covered by this Protective Order.
                                               15           12.3    Filing Protected Material. A Party that seeks to file under seal any Protected
                                               16   Material must comply with Civil Local Rule 79-5. Protected Material may only be filed under
                                               17   seal pursuant to a court order authorizing the sealing of the specific Protected Material at issue.
                                               18   If a Party's request to file Protected Material under seal is denied by the court, then the Receiving
                                               19   Party may file the information in the public record unless otherwise instructed by the court.
                                               20

                                               21   13.     FINAL DISPOSITION
                                               22           Within 60 days after the final disposition of this Action, as defined in paragraph 4, each
                                               23   Receiving Party must return all Protected Material to the Producing Party or destroy such
                                               24   material. As used in this subdivision, “all Protected Material” includes all copies, abstracts,
                                               25   compilations, summaries, and any other format reproducing or capturing any of the Protected
                                               26   Material. The attorney for the Receiving Party shall collect, assemble and return all Protected
                                               27   Material or, if electing to destroy, all Protected Material in any form (physical or digital) must be
                                               28   completely and permanently removed and destroyed from any and all locations, including

                                                    STIPULATED PROTECTIVE ORDER                    - 11 -
                                                    CASE NO.: 2:21-CV-00451-DDP-MRW
                                         Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 12 of 15 Page ID #:104




                                                1   physical files, portable drives, computers or their devices, email storage/accounts (including
                                                2   phones), backup locations (both physical and cloud-based) and shadow copies. Whether the
                                                3   Protected Material is returned or destroyed, the Receiving Party must submit a written
                                                4   certification to the Producing Party (and, if not the same person or entity, to the Designating
                                                5   Party) by the 60 day deadline in substantially the form attached hereto as Exhibit B.
                                                6   Notwithstanding this provision, Counsel are entitled to retain an archival copy of all pleadings,
                                                7   motion papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
                                                8   deposition and trial exhibits, expert reports, attorney work product, and consultant and expert
                                                9   work product, even if such materials contain Protected Material. Any such archival copies that
                                               10   contain or constitute Protected Material remain subject to this Protective Order as set forth in
                                               11   Section 4 (DURATION).
              9350 Wilshire Blvd., Suite 308




                                               12
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212
Victor Rane




                                               13

                                               14

                                               15

                                               16

                                               17

                                               18

                                               19

                                               20

                                               21

                                               22

                                               23

                                               24

                                               25

                                               26

                                               27

                                               28

                                                    STIPULATED PROTECTIVE ORDER                    - 12 -
                                                    CASE NO.: 2:21-CV-00451-DDP-MRW
                                         Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 13 of 15 Page ID #:105




                                                1   14.     Any willful violation of this Order may be punished by civil or criminal contempt
                                                2   proceedings, financial or evidentiary sanctions, reference to disciplinary authorities, or other
                                                3   appropriate action at the discretion of the Court.
                                                4   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                                                5

                                                6   DATED: 11/10/2021                                    /s/ Anahita Sedaghatfar
                                                                                                         Brian T. Dunn
                                                7
                                                                                                         Anahita Sedaghatfar
                                                8                                                        THE COCHRAN FIRM CALIFORNIA
                                                                                                         Attorneys for Plaintiff
                                                9                                                        ADELENE SANDERS

                                               10   DATED: 11/10/2021                                    /s/ Jacqueline D. DeWarr
                                                                                                         Richard A. Lazenby
                                               11                                                        Natasha Mikha Pardasani
                                                                                                         Jacqueline D. DeWarr
              9350 Wilshire Blvd., Suite 308




                                               12                                                        VICTOR RANE
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212




                                                                                                         Attorneys for Defendant
Victor Rane




                                               13                                                        SOUTHWEST AIRLINES CO.
                                               14

                                               15   All signatories concur in the filing’s content and have authorized this filing.
                                               16
                                                    FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                                               17
                                                                                                            /s/ Judge Wilner
                                               18
                                                    DATED: November 12, 2021                             __________________________________
                                               19                                                        HON. MICHAEL R. WILNER
                                                                                                         United States Magistrate Judge
                                               20

                                               21

                                               22

                                               23

                                               24

                                               25

                                               26

                                               27

                                               28

                                                    STIPULATED PROTECTIVE ORDER                    - 13 -
                                                    CASE NO.: 2:21-CV-00451-DDP-MRW
                                         Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 14 of 15 Page ID #:106




                                                1                                               EXHIBIT A
                                                2                     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                                                3

                                                4           1.1.    I, _____________________________ [full name], of _________________ [full
                                                5   address], declare under penalty of perjury that I have read in its entirety and understand the
                                                6   Stipulated Protective Order that was issued by the United States District Court for the Central
                                                7   District of California on __________[date] in the case of Adelene Sanders. v. Southwest Airlines
                                                8   Co., Case No. 2:21-CV-00451-DDP-MRW.
                                                9           I agree to comply with and to be bound by all the terms of this Stipulated Protective
                                               10   Order and I understand and acknowledge that failure to so comply could expose me to sanctions
                                               11   and punishment in the nature of contempt. I solemnly promise that I will not disclose in any
              9350 Wilshire Blvd., Suite 308




                                               12   manner any information or item that is subject to this Stipulated Protective Order to any person
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212
Victor Rane




                                               13   or entity except in strict compliance with the provisions of this Order.
                                               14           I further agree to submit to the jurisdiction of the United States District Court for the
                                               15   Central District of California for the purpose of enforcing the terms of this Stipulated Protective
                                               16   Order, even if such enforcement proceedings occur after termination of this action. I hereby
                                               17   appoint __________________________ [full name] of _______________________________
                                               18   [full address and telephone number] as my California agent for service of process in
                                               19   connection with this action or any proceedings related to enforcement of this Stipulated
                                               20   Protective Order.
                                               21   Date: ______________________________________
                                               22   City and State where signed: _________________________________
                                               23

                                               24   Printed name: _______________________________
                                               25

                                               26   Signature: __________________________________
                                               27

                                               28

                                                    STIPULATED PROTECTIVE ORDER                     - 14 -
                                                    CASE NO.: 2:21-CV-00451-DDP-MRW
                                         Case 2:21-cv-00451-DDP-MRW Document 21 Filed 11/12/21 Page 15 of 15 Page ID #:107




                                                1                                              EXHIBIT B
                                                2                     CERTIFICATION OF RETURN AND/OR DESTRUCTION OF
                                                3                                     CONFIDENTIAL INFORMATION
                                                4           I, _____________________________ [print or type full name], counsel for the Receiving
                                                5   Party, affirm that all Protected Material received in the above-captioned case has been returned
                                                6   and/or destroyed. I further affirm that the Receiving Party has not retained any copies, abstracts,
                                                7   compilations, summaries or any other format reproducing or capturing any of the Protected
                                                8   Material, except archival copies of pleadings, motion papers, trial, deposition, and hearing
                                                9   transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert reports,
                                               10   attorney work product, and consultant and expert work product, some of which may contain
                                               11   Protected Material. To the extent these archival copies contain Protected Material, the Protected
              9350 Wilshire Blvd., Suite 308




                                               12   Material is controlled by the Protective Order in the case of Adelene Sanders. v. Southwest
               Telephone: (310) 388-4849
                Beverly Hills, CA 90212
Victor Rane




                                               13   Airlines Co., Case No. 2:21-CV-00451-DDP-MRW.
                                               14

                                               15
                                                    Dated: ________________________          By:
                                               16
                                                                                                   Name:
                                               17

                                               18

                                               19

                                               20

                                               21

                                               22

                                               23

                                               24

                                               25

                                               26

                                               27

                                               28

                                                    STIPULATED PROTECTIVE ORDER                     - 15 -
                                                    CASE NO.: 2:21-CV-00451-DDP-MRW
